 Case 1:23-cv-03027-MKD     ECF No. 11-1   filed 03/29/23   PageID.171 Page 1 of 3




 1                                                     The Honorable Mary K. Dimke
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 5                    UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WASHINGTON
 6
     UNION GOSPEL MISSION OF                      NO. 1:23-cv-3027-MKD
 7   YAKIMA, WASH.,
                                                  [PROPOSED] ORDER
 8                        Plaintiff,              GRANTING DEFENDANTS’
                                                  MOTION TO DISMISS
 9            v.

10   ROBERT FERGUSON, in his
     official capacity as Attorney
11   General of Washington State,
     ANDRETA ARMSTRONG, in
12   her official capacity as Executive
     Director of the Washington State
13   Human Rights Commission; and
     DEBORAH COOK,
14   GUADALUPE GAMBOA, JEFF
     SBAIH, and HAN TRAN, in their
15   official capacities as
     Commissioners of the
16   Washington State Human Rights
     Commission,
17
                          Defendants.
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                                                                ATTORNEY GENERAL OF WASHINGTON
       [PROPOSED] ORDER GRANTING                                         Civil Rights Division
24     DEFENDANTS’ MOTION TO DISMISS                                 800 Fifth Avenue, Suite 2000
                                                                         Seattle, WA 98104
       1:23-CV-3027-MKD                                                     (206) 464-7744
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 Case 1:23-cv-03027-MKD   ECF No. 11-1   filed 03/29/23   PageID.172 Page 2 of 3




 1         THIS MATTER comes before the United States District Court on a Motion
 2   to Dismiss brought by Defendants, Robert Ferguson, in his official capacity as
 3   Attorney General of Washington, Andreta Armstrong, in her official capacity as

 4   Executive Director of the Washington State Human Rights Commission; and
 5   Deborah Cook, Guadalupe Gamboa, Jeff Sbaih, and Han Tran, in their official
 6   capacities as Commissioners of the Washington State Human Rights

 7   Commission. The Court, being familiar with the records on file, and having

 8   considered the Complaint, Defendants’ Motion, Plaintiff’s Opposition,
 9   Defendants’ Reply, and parties’ arguments at hearing, hereby ORDERS,

10   ADJUDGES, and DECREES that:
11         The Defendants’ Rule 12(b)(1) Motion is GRANTED and the case is
12   DISMISSED with prejudice.

13         IT IS SO ORDERED.
14         ENTERED this ________ day of _________________ 2023.

15
16                                             Honorable Mary K. Dimke
17                                             United States District Court Judge

18   Presented by:
19   ROBERT W. FERGUSON
     Attorney General of Washington
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21
     DANIEL J. JEON, WSBA #58087
22   DAVID WARD, WSBA #28707

                                                              ATTORNEY GENERAL OF WASHINGTON
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                                                              ATTORNEY GENERAL OF WASHINGTON
       [PROPOSED] ORDER GRANTING                 2                     Civil Rights Division
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